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In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00173-CV

———————————

The CITY Of houston, Appellant

V.

GOVERNMENT EMPLOYEE INSURANCE COMPANY
AS SUBROGEE OF JOHN GUNN, Appellee



&nbsp;



&nbsp;

On Appeal from the 113th District Court

Harris County, Texas



Trial Court Case No. 2009-58443

&nbsp;



&nbsp;

CONCURRING OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; I
concur in the judgment.&nbsp; The result is
controlled by the forced-election analysis of this court’s recent decision in City of Houston v. Esparza, No. 01-11-00046-CV,
2011 WL 4925990 (Tex. App.—Houston [1st Dist.] Oct. 7, 2011, no pet. h.).&nbsp; That opinion explained that when a tort
claimant files suit against both a governmental unit and its employee, the
election-of-remedies provision of the Tort Claims Act, Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;101.106(e) is
automatically invoked, and that statute forces an immediate election of the
governmental unit, rather than the employee, as the defendant in the
lawsuit.&nbsp; See Esparza, 2011 WL 4925990, at *10.

Although
the tort claimant in this case also filed its suit against both a governmental
unit and its employee, resulting in the forced election described in Esparza, the panel majority characterizes the claimant’s subsequent
decision to voluntarily dismiss the claim against the individual employee
defendant as “a critical procedural distinction” from Mission Consol. Indep. Sch. Dist. v. Garcia, 253 S.W.3d 653 (Tex.
2008).&nbsp; The majority further relies on
that decision as having the “same irrevocable consequence as a subsection (e)
motion” and holds that “GEICO is immediately and forever barred by subsection
(a) from bringing common law tort claims against Rogers arising from the car
wreck.”&nbsp; This superfluous analysis is
inconsistent with the forced election explained in Esparza, which takes place at the time a suit is filed against a
governmental unit and its employee.&nbsp; The
claimant’s subsequent decision to nonsuit the employee (as opposed to waiting
for a motion to dismiss the employee pursuant to subsection (e)) is irrelevant
to the analysis.

Accordingly, I concur in the judgment, but I
respectfully decline to join in the panel majority’s opinion.

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Michael Massengale

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice 

&nbsp;

Panel
consists of Justices Keyes, Higley, and Massengale.

Justice
Massengale, concurring in the judgment.





